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AUSA: David A, Markewitz

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

24 MJ 4157
UNITED STATES OF AMERICA SEALED COMPLAINT
Vv. Violations of 18 U.S.C. § 1073
WALTER BUSTOS-SOLIS, COUNTY OF OFFENSE:
Westchester
Defendant,

SOUTHERN DISTRICT OF NEW YORK, ss.:

PHILIPPE GOULET, being duly sworn, deposes and says that he is a Special Agent with
the Federal Bureau of Investigation (“FBI”), and charges as follows:

COUNT ONE
(Unlawful Flight to Avoid Prosecution)

1. From at least on or about September 2024 to the present, in the Southern District
of New York and elsewhere, WALTER BUSTOS-SOLIS, the defendant, knowingly did move and
travel in interstate and foreign commerce, with intent to avoid prosecution under the laws of the
place from which he fled, for a crime, and an attempt to commit a crime, which is a felony under
the laws of the place from which he fled, to wit, BUSTOS-SOLIS fled from the State of New York
to avoid prosecution for felony charges arising from a stabbing that he committed in Westchester
County, New York, on or about June 10, 2024, that resulted in the death of his victim.

(Title 18, United States Code, Section 1073.)
The bases for my knowledge and for the foregoing charges are, in part, as follows:

2. I am a Special Agent with the FBI. I have been personally involved in the
investigation of this matter, and I base this affidavit on that personal experience, as well as on my -
conversations with other people, including other law enforcement officers, and my examination of
various reports, records, surveillance footage, and other evidence. Because this affidavit is being
submitted for the limited purpose of establishing probable cause for the offense cited above, it does
not include all the facts that I have learned during my investigation. Where the contents of
conversations, records, or other evidence are described herein, they are described in substance and
in part.

3, On or about June 10, 2024, a man was stabbed in the vicinity of Main Street, in
Peekskill, New York (the “Stabbing”). Specifically, based on my discussions with others, review
of law enforcement reports, and review of evidence, including surveillance footage from
businesses in the area surrounding where the Stabbing occurred, I have learned, in substance and
in part, the following:

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a. Surveillance camera footage from a restaurant in the vicinity of Main Street
in Peekskill, New York (the “Restaurant”) showed that at approximately 3:35 AM on or
about June 10, 2024, a Hispanic man in white shorts and a blue button shirt (later identified
as WALTER BUSTOS-SOLIS, the defendant) left the Restaurant and begin walking down
the Main Street sidewalk. Shortly thereafter, another Hispanic man wearing a sweatshirt
and dark shorts (the “Victim”} walked up to BUSTOS-SOLIS. After a brief interaction, the
Victim could be seen attempting to punch BUSTOS-SOLIS.

b. Shortly after the Victim threw a punch, WALTER BUSTOS-SOLIS, the
defendant, could be seen on the Restaurant’s surveillance footage removing a large knife
from his right side and thrusting it towards the victim. The Victim fell, and appeared to
kick at BUSTOS-SOLIS, after which the Victim, chased by BUSTOS SOLIS, ran across
Main Street and out of view of the camera.

C. Surveillance camera footage from another business in the vicinity of Main
Street near the Restaurant showed what appeared to be the Victim crawling across the
ground shortly after 3:36 AM, with WALTER BUSTOS-SOLIS, the defendant, chasing
after him with a knife in his right hand. In that same footage, BUSTOS-SOLIS could be
seen appearing to stab the Victim approximately three times.

d. Thereafter, the surveillance footage showed the Victim leave the view of
the camera, while WAJ.TER BUSTOS-SOLIS, the defendant, continued to stand in the
roadway while appearing to yell and wave a large knife.

e. Around 3:40 a.m. that morning, law enforcement officers responded to the
Restaurant to investigate a report of the Stabbing. Shortly after arriving, one of the officers
found the Victim in a parking lot of a business down the street from the Restaurant, with
several stab wounds on his legs. Thereafter, the Victim was transported to the hospital.

f. On or about June 16, 2024, approximately six days after the Stabbing, the
Victim died of his wounds.

4, There is probable cause to conclude that WALTER BUSTOS-SOLIS, the
defendant, is the man who committed the Stabbing. Specifically, based on my discussions with
others, review of law enforcement reports, and review of evidence, I have learned, in substance
and in part, the following:

a. On or about June 10, 2024, law enforcement officers interviewed the
Victim’s friend who was present at the scene of the Stabbing (the “Friend”).' The Friend
stated that the man who committed the Stabbing was Ecuadorian, and that the Friend was
familiar with him from hanging out at the Restaurant. Later that day, law enforcement
officers interviewed the Friend again and identified the person who attacked the Victim as
“Walter.” On or about June 11, 2024, law enforcement officers showed the Friend an array

1 The Friend told law enforcement officers that he was intoxicated at the time of the Stabbing.

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of six photographs, and the Friend identified a photograph of BUSTOS-SOLIS as the man
who stabbed the Victim.’

b. On or about June 10, 2024, the owner of the Restaurant told law
enforcement officers that he believed that the man who committed the Stabbing goes by
the name “Walter.” The following day, on or about June 11, 2024, the owner of the
Restaurant informed law enforcement that “Walter” may be working at another restaurant
near the riverfront. Law enforcement officers subsequently showed BUSTOS-SOLIS’s
photograph to staff at another restaurant near the riverfront, and members of the staff
identified the man as “Walter,” who they said worked in the restaurant’s kitchen.
Management provided the man’s full name as “Walter F. Bustos.”

C. On or about June 18, 2024, law enforcement officers spoke to the owner of
a landscaping company and the foreperson of that company who told law enforcement
officers that BUSTOS-SOLIS also worked for them. According to the foreperson of the
landscaping company, on or about the evening of June 10, 2024—a little less than a day
after the Stabbing—he received a text message from someone claiming to be BUSTOS-
SOLIS who said that BUSTOS-SOLIS would “not be able to work for a while because [he]
ha[d] family issues.” According to the owner and the foreperson, neither had heard from
BUSTOS-SOLIS since that time.

d. I have spoken to another law enforcement officer who has reviewed the
surveillance footage of the Stabbing and reviewed photographs of WALTER BUSTOS-
SOLIS, the defendant, in law enforcement records. Based on that review, that law
enforcement officer told me that BUSTOS-SOLIS resembles the man who committed the
Stabbing.

5. There is probable cause to conclude that WALTER BUSTOS-SOLIS, the
defendant, left the State of New York following the Stabbing and has not yet returned. Specifically,
based on my discussions with others, review of law enforcement reports, and review of evidence,
including information that Meta Platforms, Inc. produced in response to a search warrant, I have
learned, in substance and in part, the following:

a. On or about September 8, 2024, a Facebook account was created (the
“Facebook Account”). Meta Platforms, Inc., the entity that ultimately owns Facebook,
produced information about the Facebook Account to law enforcement in response to a
search warrant.

b. Law enforcement officers searched the IP address associated with the
Facebook Account’s creation through public records available online. According to those
online records, the IP address used at the time the Facebook Account was created originated
in the vicinity of Puebla City, Mexico. Law enforcement officers have searched additional
IP addresses used to access the Facebook Account in the weeks since the account’s
creation. Using the same public records available online, law enforcement officers have
traced those IP addresses to various locations in Mexico, including to the vicinity of Puebla

2 At the time this array was administered, law enforcement officers understood that WALTER
BUSTOS-SOLIS, the defendant, went by the name “Walter Fabian Solice Coronel.”

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City and Mexico City. The most recent of those IP addresses was from about a month ago
(i.e., in or about late October 2024).

c. There is probable cause to conclude that the Facebook Account belongs to
or is used by BUSTOS-SOLIS, For instance, a person who identified himself/herself as an
acquaintance of BUSTOS-SOLIS (“Bustos-Solis’s Acquaintance”) told law enforcement
that the Facebook Account belongs to BUSTOS-SOLIS, and that Bustos-Solis’s
Acquaintance has spoken to BUSTOS-SOLIS through that account. A review of the
Facebook Account’s messages produced in response to a warrant corroborate information
provided by Bustos-Solis’s Acquaintance. Moreover, in those messages, the Facebook
‘Account user/owner stated that his wife recently died, and I have learned through
discussions with other law enforcement officers that BUSTOS-SOLIS’s ex-wife recently
passed away. Moreover, I have spoken to law enforcement officers who have reviewed the
“fiends list” for the Facebook Account and have learned that several of BUSTOS-SOLIS’s
family members are “friends” with the account uset/owner.

d. Ihave performed a search of Department of Homeland Security records and,
based on that search, I have been unable to find any record of WALTER BUSTOS-SOLIS,
the defendant, re-entering the United States in the past few months.’

6. I have reason to believe that WALTER BUSTOS-SOLIS, the defendant, left the
State of New York for the purpose of evading prosecution. Specifically, based on my training and
experience, discussions with others, review of law enforcement reports, and review of evidence, I
have learned, in substance and in part, the following:

a. On or about June 17, 2024, law enforcement officers interviewed BUSTOS-
SOLIS’s ex-wife. During that interview, BUSTOS-SOLIS’s ex-wife stated, in substance
and in part, that she was aware that BUSTOS-SOLIS had gotten into legal trouble and was
“on the run.””*

b. Based on my training and experience, | know that when a person leaves a
jurisdiction in which the person is facing arrest and prosecution for a felony—especially a
homicide——and travels to a foreign country, that person generally does so for the purpose

3 Those same records do not show WALTER BUSTOS-SOLIS leaving the United States for
Mexico. Although it is possible that BUSTOS-SOLIS crossed the U,.S.-Mexico border through
legitimate channels and such crossing was simply not captured by Homeland Security’s system, it
is also possible that BUSTOS-SOLIS crossed the border through illegitimate channels to evade
being tracked by law enforcement.

4 During that same interview, BUSTOS-SOLIS’s ex-wife claimed that she had not spoken to
BUSTOS-SOLIS in over a year. However, law enforcement officers have reviewed security
footage from a hotel in Waterbury, Connecticut, which appears to show BUSTOS-SOLIS and his
ex-wife in a car together on or about June 12, 2024, approximately two days after the Stabbing and
approximately five days before the ex-wife was interviewed. As a result, on or about July 11,
2024, BUSTOS-SOLIS’s ex-wife was arrested and charged with hindering prosecution in the
second degree, in violation of N.Y. PENAL LAW 205.60. Since that time, BUSTOS-SOLIS’s ex-

wife has passed away.
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of evading prosecution. Accordingly, there is probable cause to conclude that BUSTOS-
SOLIS left the State of New York and traveled to Mexico to evade prosecution for the
Stabbing.

7, Based on discussions with other law enforcement officers, I have learned
that the City of Peekskill Police Department and the Westchester District Attorney’s Office are
investigating WALTER BUSTOS-SOLIS, the defendant, for his connection to the Stabbing. In
addition, I know that the possible charges stemming from the Stabbing, including murder, see N.Y.
PENAL LAWS 125.25.25, 125.26, 125.27, and manslaughter, see N.Y. PENAL LAws 125.15, 125.20,
125.21, 125.22, are felonies under the laws of the State of New York.

WHEREFORE, I respectfully request that a warrant be issued for the arrest of WALTER
BUSTOS-SOLIS, the defendant, and that he be arrested, and imprisoned or bailed, as the case may
be.

/sf Philippe Goulet by JCM w/permission

PHILIPPE GOULET
Special Agent
Federal Bureau of Investigation

Sworn to me through the transmission of
this Complaint by reliable electronic
means (video conference call), this 2nd day of December, 2024.

Naat 0. Carle,
THE HONORABLE JUDITH C, McCARTHY

United States Magistrate Judge
Southern District of New York

